Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 1 of 11 PageID #: 1285




                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                WESTERN DIVISION


UNITED STATES OF AMERICA,                             CR. 16-50110-JLV

                   Plaintiff,
                                                            ORDER
    vs.

JOEL ZUPNIK,

                   Defendant.


                                 INTRODUCTION

      Defendant Joel Zupnik, through counsel, filed an emergency motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). (Docket 115).

The United States Attorney for the District of South Dakota opposed the

motion. (Docket 120). For the reasons stated below, defendant’s motion is

granted.

                            FACTUAL BACKGROUND

      On April 26, 2019, Mr. Zupnik was sentenced to a term of imprisonment

of 120 months for attempted enticement of a minor using the internet in

violation of 18 U.S.C. § 2422(b). (Dockets 102 & 103). Mr. Zupnik was found

guilty following a jury trial. (Docket 80). A presentence investigation report

ordered by the court indicated Mr. Zupnik’s advisory guideline range was 97 to

121 months of imprisonment based on a total offense level of 30 and his

criminal history category I. (Docket 85 ¶ 65). The offense carried a mandatory

minimum sentence of ten years. Id. ¶ 64. The court sentenced Mr. Zupnik to
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 2 of 11 PageID #: 1286




the statutorily mandated minimum sentence of 120 months followed by five

years of supervised release. (Docket 103 at pp. 2-3).

      Mr. Zupnik appealed his judgment and conviction to the United States

Court of Appeals for the Eighth Circuit (“Eighth Circuit”) on April 30, 2019.

(Docket 104). While the appeal was pending, the Eighth Circuit granted Mr.

Zupnik’s emergency motion for release pending appeal to obtain medical

treatment. (Docket 112). The case was remanded to this court for the limited

purpose of determining conditions of Mr. Zupnik’s release. Id. On November

10, 2020, the court entered an order setting conditions for Mr. Zupnik’s

temporary release. (Docket 114). The purpose of Mr. Zupnik’s temporary

release was to facilitate cancer treatments at Banner University Medical

Center, University of Arizona Cancer Center, in Tucson, Arizona. Id. at pp. 1-2.

On March 5, 2021, the court modified the conditions of release requested by

the United States Probation and Pretrial Services Office and agreed to by Mr.

Zupnick. See Dockets 124, 124-2 & 125.

      Mr. Zupnik was diagnosed with Stage IIIC Anal Cancer. (Docket 116-4

¶¶ 5-6). Based on the stage of his condition, Mr. Zupnik was assessed as

having a 65 percent rate of recovery with proper treatment. Id. ¶ 6. His

treatment plan consisted of a six-week course of chemotherapy and radiation.

Id. ¶¶ 7-8. His post-treatment monitoring plan included follow up evaluations

and testing every three months for the first two years and every six months for

an additional three years. Id. ¶10. Mr. Zupnik is 55 years old. See Docket

                                        2
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 3 of 11 PageID #: 1287




85 at p. 2. The court is informed Mr. Zupnik completed his course of

chemotherapy and radiation and currently is convalescing at home pursuant to

the court’s November 10, 2020, order.

      On March 2, 2021, the Eighth Circuit issued a decision affirming Mr.

Zupnik’s conviction. (Dockets 122 & 123). On April 1, 2021, defendant’s

petitions for rehearing en banc and by the panel were both denied. (Docket

126). The mandate was entered on April 8, 2021. (Docket 128).

                             MR. ZUPNIK’S MOTION

      Mr. Zupnik’s counsel filed an emergency motion to reduce his sentence

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (Docket 115). Mr. Zupnik’s motion

seeks compassionate release on the basis of extraordinary and compelling

reasons in light of his stage IIIC anal cancer, the inability to receive the

treatment and monitoring that is required while incarcerated and the threat

incarceration poses to his health in his immunocompromised state during the

COVID-19 pandemic. (Docket 116 at pp. 9-19). Mr. Zupnik argues his release

is consistent with the 3553(a) sentencing factors because (1) he is not a danger

to the community; (2) the period of incarceration he served and the conditions

of that incarceration provided just punishment and adequate deterrence; and

(3) his potential further criminality is low. Id. at pp. 20-26. If his motion is

granted, Mr. Zupnik plans to live at his residence in Ft. Collins, Colorado.




                                         3
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 4 of 11 PageID #: 1288




                         UNITED STATES’ OPPOSITION

      The government agrees Mr. Zupnik presented extraordinary and

compelling reasons for compassionate release based on his health conditions.

(Docket 120 at pp. 1-2). Nonetheless, the government opposes Mr. Zupnik’s

motion for compassionate release based on the 3553(a) factors. Id. at pp. 5-8.

The government argues Mr. Zupnik committed a serious crime and has served

only a fraction of his mandatory minimum sentence in custody. Id. at p. 5.

Mr. Zupnik was apprehended as part of a sting operation to target online

predators in South Dakota during the 2016 Sturgis bike rally. (Docket 85 ¶13).

Mr. Zupnik exchanged multiple sexually charged e-mails with a person he

believed to be a 15-year-old female and arranged to meet her. Id. ¶¶ 14-16.

The government reminds the court of the evidence presented at trial, “including

the vulgar language defendant used to entice the person he believed to be a

child as well as conduct in showing up at a high school to meet and have sex

with the minor.” (Docket 120 at p. 5). The government argues Mr. Zupnik’s

crime was more serious than a two-year sentence (the time Mr. Zupnik actually

served in custody) reflects. Id. at p. 6.

      The government further argues Mr. Zupnik has not taken responsibility

for his conduct and has shown no remorse. Id. According to the government,

this lack of acceptance of responsibility gives no assurance Mr. Zupnik will

refrain from similar conduct in the future and does not provide sufficient

deterrence to the public at large. Id. at pp. 6-7. Finally, the government

                                            4
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 5 of 11 PageID #: 1289




argues if Mr. Zupnik’s motion is granted, the court should impose a condition

of home confinement and extend his supervised release period. Id. at pp. 8-9.

                                   ANALYSIS

      Administrative Exhaustion

      Section 3582(c) permits the district court to consider a prisoner’s request

for compassionate release after he exhausts the administrative remedies

mandated by the statute. 18 U.S.C. § 3582(c)(1)(A)(i). The government does

not contend Mr. Zupnik’s motion should be rejected for failure to exhaust

administrative remedies. See generally Dockets 102 & 121 at p.1. Accordingly,

the court will address the motion on its merits.

      Extraordinary and Compelling Reasons

      When extraordinary and compelling reasons exist, section 3582(c)

permits the district court to reduce a defendant’s term of imprisonment “after

considering the factors set forth in section 3553(a) to the extent they are

applicable” and when the reduction is “consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i).

The Sentencing Commission lacks a quorum and has not updated the policy

statements for “extraordinary and compelling reasons” justifying

compassionate release since the passage of the First Step Act in December

2018. United States v. Marks, 455 F. Supp. 3d 17, 24 (W.D.N.Y. 2020)

(references omitted).



                                        5
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 6 of 11 PageID #: 1290




      The court previously surveyed the status of the law as to a court’s

authority under the First Step Act. E.g., United States v. Thunder Hawk, CR.

14-50008, 2021 WL 253456, at *5 (D.S.D. Jan. 26, 2021); United States v.

Magnuson, CR. 15-50095, 2020 WL 7318109, at *4-5 (D.S.D. Dec. 11, 2020);

United States v. King, CR. 15-50050, 2020 WL 6146446, at *4-5 (D.S.D. Oct.

20, 2020). A summary of that survey is sufficient here.

      The purpose of the First Step Act was to expand the availability of

compassionate release based on judicial findings of extraordinary and

compelling reasons without being restricted to those categories identified by the

Sentencing Commission or the rationale used by the BOP before the passage of

the First Step Act.

      The court held it retains its independent authority “to consider the full

slate of extraordinary and compelling reasons that an imprisoned person might

bring before [the court] in motions for compassionate release.”1 E.g.,

Magnuson, 2020 WL 7318109, at *5 (quoting United States v. Brooker, 976

F.3d 228, 237 (2d. Cir. 2020)); see also McCoy, 981 F.3d at 283 (“As of now,

there is no Sentencing Commission policy statement ‘applicable’ to the

defendants’ compassionate-release motions, which means that district courts

need not conform, under § 3582(c)(1)(A)’s consistency requirement, to § 1B1.13


      1The  United States Court of Appeals for the Eighth Circuit had several
opportunities to address this issue but declined to do so. United States v.
Vangh, 990 F.3d 1138, 1141 n.3 (8th Cir. 2021); United States v. Loggins, Jr.,
966 F.3d 891 (8th Cir. 2020); and United States v. Rodd, 966 F.3d 740 (8th
Cir. 2020).
                                        6
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 7 of 11 PageID #: 1291




in determining whether there exist ‘extraordinary and compelling reasons’ for a

sentence reduction.”); United States v. Jones, 980 F.3d 1098, 1111 (6th Cir.

2020) (“In cases where incarcerated persons file motions for compassionate

release, federal judges . . . have full discretion to define ‘extraordinary and

compelling’ without consulting the policy statement § 1B1.13.”); and United

States v. Gunn, 980 F.3d 1178, 1180 (7th Cir. 2020) (agreeing with the Second

Circuit that the Guidelines Manual “does not curtail a district judge’s

discretion”).

        Turning to that task, the government conceded Mr. Zupnik demonstrates

extraordinary and compelling reasons for compassionate release. The court

agrees. Mr. Zupnik has active Stage IIIC anal cancer. The Centers for Disease

Control and Prevention (“CDC “) identifies cancer as a condition that can

increase the risk of severe illness from COVID-19. See People with Certain

Medical Conditions, Ctrs. for Disease Control & Prevention, https://www.cdc.

gov/ coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last updated Mar. 29, 2021) (last checked Apr. 23, 2021). The

CDC instructs “[t]reatments for many types of cancer can weaken your body’s

ability to fight off disease.” Id. Mr. Zupnik’s medical consultants agree his

immunocompromised state as a result of his cancer, chemotherapy and

radiation treatment regimen renders him more vulnerable and susceptible to

illness, particularly within the confines of a correctional facility. (Docket 116-4

¶ 7).

                                         7
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 8 of 11 PageID #: 1292




      The court finds Mr. Zupnik meets his burden of proof and presents

extraordinary and compelling reasons under § 3582(c)(1)(A)(i).

      3553(a) Factors

      Against these findings, the court must consider whether compassionate

release comports with the § 3553(a) factors. See 18 U.S.C. § 3582(c)(1)(A).

These factors include the nature and circumstances of the offense, the history

and characteristics of the defendant, the need to reflect the seriousness of the

offense, promote respect for the law, provide just punishment, deter criminal

conduct, and protect the public from further crimes of the defendant, among

others. Id. § 3553(a)(1)-(7).

      In Mr. Zupnik’s case, the nature and circumstances of the offense—

attempted enticement of a minor using the internet—is extremely serious and

would have been harmful and devastating to the intended victim if Mr.

Zupnik’s plan had come to fruition. Id. § 3553(a)(1). The court does not

minimize Mr. Zupnik’s conduct just because an actual minor was not involved.

      “[T]he history and characteristics of the defendant” requires the court to

consider the defendant as a whole person. Koon v. United States, 518 U.S. 81,

113 (1996). Other than misdemeanors involving driving under the influence at

age 47, which resulted in a deferred sentence, and disorderly conduct at age

48, which was dismissed after completion of community service, Mr. Zupnik

has no prior criminal history. (Docket 85 ¶¶ 34-35). He had one scorable



                                        8
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 9 of 11 PageID #: 1293




criminal history point, placing him in criminal history category I. Id. at ¶ 38.

There is no evidence he had any disciplinary violations while in prison.

      The court is cognizant of the government’s concern that Mr. Zupnik has

not served a significant portion of his sentence and that his early release does

not reflect the seriousness of or provide just punishment for the offense. These

concerns are well taken. The court sentenced Mr. Zupnik to 120 months of

imprisonment and he has served approximately 23 months of that term. See

Docket 116 at p. 6. The court is concerned about the serious nature of the

offense committed by Mr. Zupnik but is also cognizant of the serious risk to

Mr. Zupnik’s health and life expectancy if he were to return to custody. A

further consideration is Mr. Zupnik’s cancer requires treatment, care, and

follow-up that is not readily available and easily accessible while incarcerated

within the Bureau of Prisons. See Docket 116-4, ¶¶ 7-11.

      On careful balance of the § 3553(a) factors, the court finds

compassionate release is appropriate. The court concludes Mr. Zupnik’s time

in custody was sufficient to adequately deter him from future criminal conduct,

particularly in light of his unaddressed medical needs as outlined by the

defense. See Docket 116-3, ¶¶ 5-12. Mr. Zupnik will be on supervised release

for five years and the special conditions of his supervision require him to

comply with the Sex Offender Registration and Notification Act. (Docket 103 at

p. 3). The government’s concerns that Mr. Zupnik has not served enough of

his sentence in custody will be addressed through conditions of supervised

                                        9
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 10 of 11 PageID #: 1294




release which includes imposing a period of home confinement. This will

further limit Mr. Zupnik’s liberty interests and he will face harsh consequences

if he violates those conditions or the other standard and special conditions of

his supervised release.

      Home Confinement

      The court does not have authority to modify the defendant’s sentence to

home confinement. United States v. Amarrah, 458 F. Supp.3d 611, 620 (E.D.

Mich. 2020). The court does, however, retain the authority to reduce Mr.

Zupnik’s sentence to time served and impose a condition of home detention as

a condition of his supervised release. See id.

      The court concludes that a 24-month period of home confinement in lieu

of imprisonment is sufficient to closely monitor Mr. Zupnik. Mr. Zupnik will be

placed on supervised release for five years, subject to the mandatory, standard

and special conditions of supervised release imposed in the original sentence,

and further subject to the terms and conditions set forth in the Order dated

November 10, 2020, and the Order Modifying Conditions of Supervised Release

dated March 5, 2021, as well as the additional condition of home confinement.

See Docket 103, 114, 125.

                                    ORDER

      Good cause having been proven, it is

      ORDERED that Mr. Zupnik’s motion for compassionate release (Docket

115) is granted.

                                       10
Case 5:16-cr-50110-JLV Document 129 Filed 05/05/21 Page 11 of 11 PageID #: 1295




      IT IS FURTHER ORDERD that the defendant’s sentence of imprisonment

is reduced to time served.

      IT IS FURTHER ORDERED that Mr. Zupnik shall be on supervised

release for five years, subject to (1) the mandatory, standard and special

conditions of supervision imposed in the original judgment and commitment

dated April 29, 2019; (2) the terms and conditions imposed in the order dated

November 10, 2020; and (3) the additional special conditions imposed in the

order modifying conditions of supervised release dated March 5, 2021.

(Dockets 103 at pp. 3-5; 114 & 125).

      IT IS FURTHER ORDERED that as an additional special condition of

supervised release Mr. Zupnik shall be subject to home confinement for a

period of 24 months.

      IT IS FURTHER ORDERED that the United States Probation Office shall

prepare an amended judgment consistent with this order.

      IT IS FURTHER ORDERED that the Clerk of Court shall deliver a copy of

this order to the United States Probation Office and the United States Marshals

Service in the District of South Dakota.

      Dated May 5, 2021.

                               BY THE COURT:

                               /s/ Jeffrey L. Viken
                               JEFFREY L. VIKEN
                               UNITED STATES DISTRICT JUDGE



                                       11
